                  IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF TENNESSEE
                           GREENEVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      No. 2:12-CR-025
                                                  )
MATEO SILVA HERNANDEZ                             )


                            MEMORANDUM AND ORDER


              This criminal case is before the court on the January 10 and 11, 2013 reports

and recommendations (“R&Rs”) [docs. 163, 165] of Chief United States Magistrate Judge

Dennis H. Inman. Magistrate Judge Inman recommends that the defendant’s motion to

suppress evidence and statements [doc. 117] and the defendant’s motion to dismiss [doc. 96]

be denied. The January 16, 2013 deadline for filing objections to the R&Rs [doc. 166] has

passed without response.

              De novo review by the district court of a magistrate judge’s report and

recommendation is both statutorily and constitutionally required. See United States v. Shami,

754 F.2d 670, 672 (6th Cir. 1985). However, it is necessary only to review “those portions

of the report or specified proposed findings or recommendations to which objection is made.”

28 U.S.C. § 636(b)(1).

              Even though no objections have been filed, the undersigned has nonetheless

thoroughly reviewed the R&Rs, the defendant’s motions, the parties’ briefing, and the

challenged waivers and statement signed by the defendant on March 9, 2012. Further,


Case 2:12-cr-00025-RLJ       Document 168 Filed 01/17/13          Page 1 of 2     PageID #:
                                         461
although no transcript of the January 9 motion hearing has been filed, the court listened to

the entire hearing as it took place and has thus had sufficient opportunity to consider the

content and credibility of the testimony.

              Finding itself in complete agreement with the magistrate judge, the court

ADOPTS the findings of fact and conclusions of law set out in the reports and

recommendations [docs. 163, 165]. It is ORDERED that the defendant’s motion to suppress

[doc. 117] and motion to dismiss [doc. 96] are DENIED.



              IT IS SO ORDERED.



                                                        ENTER:



                                                                s/ Leon Jordan
                                                           United States District Judge




                                             2


Case 2:12-cr-00025-RLJ       Document 168 Filed 01/17/13          Page 2 of 2    PageID #:
                                         462
